ioneote Case 1-19-46083-cec Doc 14-3 Filed 11/13/19 Entered 11/13/19 15:35:50

From: Wiliam Younghans <wyounghanadilawpetroff.com>
To: rbsiz30@aol.com <rbslz30@aal.com>
Subject: SALE DATE 7-7-17 POSTPONED

Ralph,

GOOD NEWS- your sale date has been postponed!!! I received your fax regarding Barbaras tax returns and
Social Security income. Please work on getting the rest of the documents so | can submit a complete package
ASAP.

Thank You,

William Younghans | Underwriter

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